             Case 2:19-bk-24804-VZ                   Doc 326 Filed 02/12/20 Entered 02/12/20 13:10:47                                       Desc
                                                      Main Document     Page 1 of 6



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address
    Richard M. Pachulski (CA Bar No. 90073)
    Jeffrey W. Dulberg (CA Bar No. 181200)
    Malhar S. Pagay (CA Bar No. 189289)
    PACHULSKI STANG ZIEHL & JONES LLP
    10100 Santa Monica Blvd., 13th Floor
    Los Angeles, California 90067
    Telephone: 310/277-6910
    Facsimile: 310/201-0760
    E-mail: rpachulski@pszjlaw.com
            jdulberg@pszjlaw.com
            mpagay@pszjlaw.com



         Individual appearing without an attorney
         Attorney for: Movant(s)

                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                       CASE NO.:     2:19-bk-24804-VZ

    YUETING JIA,1
                                                                                CHAPTER: 11

                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion2):

                                                                            Stipulation Resolving Status of Claim Held by
                                                                            Shanghai Qichengyueming Investment Partnership
                                                                  Debtor(s) Enterprise (Limited Partnership) as General Unsecured
                                                                            Claim

                                                                                [Docket No. 325]


PLEASE TAKE NOTE that the order titled Order
                                      Approving Stipulation Resolving Status of Claim Held by Shanghai
Qichengyueming Investment Partnership Enterprise (Limited Partnership) as General Unsecured Claim was
lodged on (date) February 12, 2020 and is attached hereto as Exhibit “A”. This order relates to the stipulation which is docket
number 325.




1
  The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91 Marguerite Drive,
Rancho Palos Verdes, CA 90275.
2
  Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
DOCS_LA:327569.1 46353/002
Case 2:19-bk-24804-VZ   Doc 326 Filed 02/12/20 Entered 02/12/20 13:10:47   Desc
                         Main Document     Page 2 of 6




                             EXHIBIT A
                                                                   Case 2:19-bk-24804-VZ        Doc 326 Filed 02/12/20 Entered 02/12/20 13:10:47              Desc
                                                                                                 Main Document     Page 3 of 6


                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: rpachulski@pszjlaw.com
                                                                               jdulberg@pszjlaw.com
                                                                   6           mpagay@pszjlaw.com
                                                                   7   [Proposed] Attorneys for Debtor and Debtor in Possession
                                                                   8
                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                        LOS ANGELES DIVISION
                                                                  11
                                                                       In re,                                              Case No. 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       YUETING JIA                                         Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                           ORDER APPROVING STIPULATION
                                                                  14                     Debtor.                           RESOLVING STATUS OF CLAIM
                                                                                                                           HELD BY SHANGHAI
                                                                  15                                                       QICHENGYUEMING INVESTMENT
                                                                                                                           PARTNERSHIP ENTERPRISE
                                                                  16                                                       (LIMITED PARTNERSHIP) AS
                                                                                                                           GENERAL UNSECURED CLAIM
                                                                  17
                                                                                                                           [No Hearing Required]
                                                                  18

                                                                  19            The Court having considered the Stipulation Resolving Status of Claim Held by Shanghai

                                                                  20   Qichengyueming Investment Partnership Enterprise (Limited Partnership) As General Unsecured

                                                                  21   Claim (the “Stipulation”) [Docket No. 325], dated February 12, 2020, as agreed to by Shanghai

                                                                  22   Qichengyueming Investment Partnership Enterprise (Limited Partnership) (“SIQ”) through its counsel

                                                                  23   of record, Dentons US LLP, by John A. Moe, II, and Jinsu John Zhang, and Yueting Jia, chapter 11

                                                                  24   debtor and debtor in possession (the “Debtor”), through his counsel of record, Pachulski Stang Ziehl

                                                                  25   & Jones LLP, by Jeffrey W. Dulberg, and good cause appearing therefor,

                                                                  26            IT IS HEREBY ORDERED that

                                                                  27            1. The Stipulation is APPROVED.

                                                                  28
                                                                   Case 2:19-bk-24804-VZ         Doc 326 Filed 02/12/20 Entered 02/12/20 13:10:47              Desc
                                                                                                  Main Document     Page 4 of 6


                                                                   1           2.      The Court shall retain jurisdiction to hear and determine all matters arising from or
                                                                   2   relating to this Order.
                                                                   3                                                       ###
                                                                   4

                                                                   5

                                                                   6

                                                                   7

                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28
        Case 2:19-bk-24804-VZ                   Doc 326 Filed 02/12/20 Entered 02/12/20 13:10:47                                       Desc
                                                 Main Document     Page 5 of 6



                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 12, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date)                             , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 12, 2020, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA HAND DELIVERY
Hon. Vincent Zurzolo
United States Bankruptcy Court
Edward R. Roybal Federal Bldg./Courthouse
255 East Temple Street
Suite 1360 / Courtroom1368
Los Angeles, CA 90012
                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 12, 2020            Mary de Leon                                                     /s/ Mary de Leon
 Date                         Printed Name                                                     Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                    Page 2                        F 9021-1.2.BK.NOTICE.LODGMENT
DOCS_LA:327569.1 46353/002
        Case 2:19-bk-24804-VZ                   Doc 326 Filed 02/12/20 Entered 02/12/20 13:10:47                                       Desc
                                                 Main Document     Page 6 of 6




SERVICE INFORMATION FOR CASE NO. 19-bk-24804-VZ

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

       Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       Ben H Logan blogan@omm.com
       David W. Meadows david@davidwmeadowslaw.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
       Christopher E Prince cprince@lesnickprince.com,
        jmack@lesnickprince.com;cprince@ecf.courtdrive.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       Benjamin Taylor btaylor@taylorlawfirmpc.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Emily Young pacerteam@gardencitygroup.com,
        rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                    Page 3                        F 9021-1.2.BK.NOTICE.LODGMENT
DOCS_LA:327569.1 46353/002
